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UNITED STATES COURT OF INTERNATIONAL TRADE                                               FORM 7A

PLASTICOLOR MOLDED PRODUCTS, INC.


                                        Plaintiff,                                     20-03822
                                                                           Court No.
        v.
UNITED STATES


                                         Defendant.



                                    NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(i) of the Rules of
the United States Court of International Trade, hereby dismisses this action.

         September 10, 2024
Dated:
                                                /s/ Elon A. Pollack

                                                            Attorney for Plaintiff
                                                865 S. Figueroa Street, Suite 1388

                                                                 Street Address
                                                Los Angeles, CA 90017

                                                           City, State and Zip Code
                                                (213) 630-8888

                                                                      Telephone No.

                                         Order of Dismissal

         This action, having been voluntarily noticed for dismissal by plaintiff, is dismissed.

Dated: September 10, 2024                       Clerk, U. S. Court of International Trade

                                                            /s/ Giselle Almonte
                                                By:
                                                                      Deputy Clerk
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                                   Schedule to Notice of Dismissal

       Court Number(s)                                      Plaintiff(s) Name
20-03822                            Plasticolor Molded Products, Inc.




                                           Order of Dismissal

       This action and those listed on the schedule set forth above, having been voluntarily
noticed for dismissal by plaintiff, are dismissed.



Dated:    September 10, 2024


                                                           Clerk, U. S. Court of International Trade



                                                                 /s/ Giselle Almonte
                                                         By:
                                                                     Deputy Clerk



(As added Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
